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IN THE UNITED STATES DISTRICT COURT 05 5
FOR 'I'HE wEsTERN DISTRICT oF TENNESSEE ‘ HH`Y -2 pH h_. ha
WESTERN DIVISION

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ALMA ROBINSON,
Plaintiff,
vs.

NO. 04-2333 D/V

FIRST HORIZON EQUITY LENDING,

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Defendant.

 

ORDER GRANTING DEFENDANT'S SECOND MOTION TO COMPEL

 

Before the court is the March 31, 2005 motion of the
defendant, First Horizon Equity Lending (“First Horizon"), pursuant
to Federal Rule of Civil Procedure 37, for an order compelling the
plaintiff, Alma Robinson, to supplement her Initial Disclosures,
Answers to Defendant's First Set of Interrogatories, and Responses
to Defendant's First Request fo Production of Documents, Writings
and Things. This motion was referred to the United States
Magistrate Judge for determination. For the following reasons,
First Horizon's motion is granted.

BACKGROUND

The court's August 26, 2004 scheduling order set September 28,
2004 as the deadline for initial disclosures and April 29, 2005 as
the deadline for completing all discovery. Robinson failed to

serve First Horizon with her initial disclosures by September 28.

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On October 22, First Horizon served Robinson with its first set of
interrogatories and first request for production of documents,
writings, and things. Again, Robinson failed to respond. On
January 18, 2005. First Horizon filed its first motion to compel.
The court granted the request, and Robinson served her initial
disclosures and discovery responses on February 18, 2005.

On March 7, First Horizon sent a letter to Robinson's counsel
detailing what it considered to be deficiencies in Robinson's
initial disclosures and discovery responses. First Horizon did
not receive a response fronl Robinson. With the deadline for
completing discovery approaching, First Horizon filed this second
motion to compel requesting that Robinson supplement her
disclosures and discovery responses.

ANALYSIS

A. INITIAL DISCLOSURES

 

Rule 26(a)(1)(C) states:

[A] party must, without awaiting a discovery request,
provide to other parties: a computation of any category
of damages claimed by the disclosing party, making
available for inspection or copying under Rule 34 the
documents or other evidentiary material, . . ., on which
such computation is based . .

FED R. CIV. P 26(a)(1)(C). First Horizon contends that Robinson's
initial disclosures are deficient because no “computation” of the

alleged damages was provided as required by Federal Rule of Civil

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Procedure 26(a)(1)(C). Likewise, First Horizon points out that
Robinson has not identified any documents or evidentiary materials
on which her alleged damages are based.

Robinson’s initial disclosures indicate that she will be
seeking back pay, front pay and attorney fees in an amount to be
determined before trial and compensatory damages in the amount of
$300,000. In response to First Horizon's motion, Robinson claims
that her “computation” of damages is based upon her tax returns
that have already been provided to First Horizon. Robinson avers
that she has not provided her 2004 tax return, but plans to do so.

After Robinson provides her 2004 tax return, First Horizon
should have enough information in its possession to determine how
Robinson computed her alleged damages. Accordingly, Robinson is
ordered to supplement her initial disclosures by producing her 2004
tax return within eleven (11) days from the date of entry of this
order.

B. RESPONSES TO INTERROGATORIES

 

In regard to Interrogatory No. 1, First Horizon requests that
Robinson identify every person who she believes may have
discoverable information. First Horizon also asks Robinson to
include what discoverable information she believes each person
identified has with respect to this action. In response, Robinson

identified one individual, but did not indicate what discoverable

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information she believes this individual has with regard to this
case. Accordingly, Robinson is ordered to supplement her response
within eleven (11) days from the date of entry of this order to
include what information she believes the individual identified has
with respect to this action.

In regard to Interrogatory No. ll, First Horizon asks that
Robinson indicate whether or not she is making a claim for
emotional distress or physical or medical damages. If Robinson is
making such a claim, First Horizon seeks the names, addresses, and
telephone numbers of each individual who has rendered a diagnonsis
and/or treatment to Robinson since January 1995. Robinson
responded to the interrogatory by stating “none at this time.”

First Horizon now seeks to clarify whether there are
physicians or other healthcare providers responsive to
Interrogatory No. ll. Robinson makes it clear in her response to
the motion that she will not have medical proof in this trial and
she is not making a claim for emotional or medical damages.
Accordingly, First Horizon’s request for a supplemental disclosure
in regard to Interrogatory No. 11 is moot.

C. RESPONSES TO REQUEST FOR PRODUCTION OF DOCU'MEN‘I'S

First Horizon's first request for production of documents

seeks an Authorization for Release of Health Information and an

Authorization for Release of Psychotherapy Notes. Robinson

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responded to this request and produced signed documents, but the
releases were not notarized. In order for releases to be in
compliance with HIPAA, they must be notarized. First Horizon sent
extra copies to Robinson and requested that she sign them in the
presence of a Notary Public, but these copies have not been
returned. Accordingly, Robinson is ordered to provide First
Horizon with notarized releases for health information and
psychotherapy notes within eleven (11) days from the date of entry
of this order.

Robinson is also ordered to designate by number the documents
that are responsive to First Horizon's numbered requests within
eleven (ll) days from the date of entry of this order.

IT IS SO ORDERED this 2nd day of May, 2005.

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

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This notice confirms a copy of the document docketed as number 27 in
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Honorable Bernice Donald
US DISTRICT COURT

